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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


United States of America,                  )
                                           )
                        Plaintiff,         )
                                           )
            v.                             )      05 CR 254-2
                                           )
Hossein Obaei,                             )
                                           )
                        Defendant.         )

                              MEMORANDUM ORDER

     Counsel for co-defendant Hossein Obaei (“Obaei”) has filed a

written Response to the government’s Santiago proffer together

with a motion for trial severance from co-defendant Amir

Hosseini.    Because counsel for the government and for both

defendants have agreed that this Court should defer ruling on

their numerous motions in limine until the voir dire conference

scheduled for January 5, and because the potential for severance

could require major changes in trial preparation, this Court

rules on the severance motion now, while deferring its more

detailed statement of reasons to the January 5 voir dire

conference.

     Nothing in Obaei’s motion justifies severing the defendants

for trial purposes.      From the extensive Santiago proffer it is

clear that there is more than adequate linkage of the two

defendants to support the normal rule calling for joinder

pursuant to Fed.R.Crim.P. 8(b).          As for any lack of total

identity of defendants’ activities in furtherance of the charged
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conspiracy, as well as any possible inadmissibility of evidence

as to either defendant that is admissible against the other,

those matters can readily be handled by appropriate instructions

to the jury, both during the trial and as part of the final jury

instructions.            Accordingly Obaei’s motion for severance is

denied, with his response to the Santiago proffer being deferred

to the time of the voir dire conference, when all motions in

limine will be addressed.




                                   _________________________________
                                   Milton I. Shadur
                                   Senior United States District Judge


Date:          December 27, 2006
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